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So Ordered.

Signed this 27 day of June, 2023.



                                                 _______________________________
                                                             Patrick G. Radel
                                                      United States Bankruptcy Judge




  UNITED STATES BANKRUPTCY
  COURTNORTHERN DISTRICT OF
  NEW YORK
                                                                 )
  In re: John Piccirilli, Inc.,                                  )
                                                                 )    Case No. 21-60057
                                                                 )
                              Debtor.                            )    Chapter 11
                                                                 )
                                                                 )
__________________________________________________


            FINAL DECREE CLOSING THE DEBTOR’S CHAPTER 11 CASE

       John Piccirilli, Inc. (the “Debtor”), having filed its Application for Entry of Final Decree

Closing Chapter 11 Subchapter V Case Pursuant to Section 350(a) of the Bankruptcy Code and

Bankruptcy Rule 3022 (the “Application”), by and through its undersigned attorneys, Orville &

McDonald Law, PC, for entry of a final decree closing the Debtor’s Chapter 11 Subchapter V

Case pursuant to section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022, all as more

fully set forth in the Application; and having filed a Notice of Substantial Consummation on
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April 11, 2023 (Dkt. 145-2) and supplemented on June 2, 2023 (Dkt. 161); and this Bankruptcy

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and this

Bankruptcy Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2),

and this Bankruptcy Court having found that venue of this proceeding and the Application in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Bankruptcy Court having

found that the relief requested in the application is in the best interest of the Debtor, its estate,

creditors, and other parties in interest; and this Bankruptcy Court having found that the Debtor’s

notice of the Application and opportunity for a hearing on the Application were appropriate and

no other notice need be provided; and this Bankruptcy Court having reviewed the Application

and if necessary having heard the statements in support of the relief requested therein at a

hearing before this Bankruptcy Court (the “Hearing”); and this Bankruptcy Court having

determined that the legal and factual basis set forth in the Application and (if necessary) at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Bankruptcy Court; and after due deliberation and sufficient cause appearing therefore,

it is HEREBY ORDERED THAT;

        1.      The Application is granted in its entirety.

        2.      Pursuant to section 350(a) of the Bankruptcy Code and Rule 3022 of the Federal

Rules of Bankruptcy Procedure, the Debtor’s chapter 11 case is hereby closed and its debts              PGR

discharged.

        3.      The Debtor is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Application.

        4.      Nothing in this Final Decree shall change the amount or nature of any

distribution, or any other substantive rights, that any claim against or interest in any Debtor
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would have been entitled to under the Second Amended Small Business Debtor Plan (Dkt. 83),

the Confirmation Order (Dkt. 104), the Bankruptcy Code, the Bankruptcy Rules, or otherwise,

had this Final Decree not been entered.

       5.      Notwithstanding anything to the contrary, the terms and conditions of this Final

Decree shall be immediately effective and enforceable upon its entry.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Decree.


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